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                 IN THE UNITED STATES DISTRICT COURT
                     IN THE DISTRCT OF NEW JERSEY

 Dale Ylitalo, individually and on behalf of
 all others similarly situated,

                       Plaintiff,

 v.                                              Case No.

 Automatic Data Processing, Inc., ADP,
 Inc., and American Century Investments          JURY TRIAL DEMANDED
 Services, Inc.,

                       Defendants.


                          CLASS ACTION COMPLAINT

      Plaintiff Dale Ylitalo (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through his attorneys, brings this action against

Defendants Automatic Data Processing, Inc. (“Automatic”), ADP, Inc. (“ADP”),

and American Century Investments Services, Inc. (“American Century

Investments” or “ACI”) (collectively “Defendants”). Plaintiff alleges the following

upon information and belief, except as to those allegations concerning Plaintiff,

which are alleged upon personal knowledge. Plaintiff’s information and belief is

based upon, among other things, their counsel’s investigation. In support thereof,

Plaintiff alleges the following:

                                I.      INTRODUCTION
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      1.      This is a class action on behalf of persons, who own and operate their

own business, from the date of filing to three years prior thereto (the “Class

Period”), and purchased or otherwise acquired for themselves a SIMPLE IRA from

ADP, the funds for which were immediately directed into one of ACI’s One Choice

Target Date Portfolios (“One Choice”) which are ”Fund of Funds” (“FOF”), at the

time of sale of the SIMPLE IRA. The action is brought against Defendants for

violations of Sections 12(a)(2) (15 U.S.C. § 77(a)(2)), and 15 (15 U.S.C. § 77o) of the

Securities Act of 1933 (“Securities Act”; Sections10(b) (15 U.S.C. § 78j(b)) and 20(a)

(15 U.S.C. § 78t(a))of the Securities Exchange Act of 1934 (“Exchange Act”), and

Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. 501.201,

et seq., and N.J.S.A § 49:3-71. Plaintiff also brings claims for fraud in the

inducement,     gross   negligence,   negligent    misrepresentation,    and    unjust

enrichment.

      2.      Automatic provides human resources management software and

services such as payroll services, time and attendance tools, tax services,

compliance services, benefits administration, and retirement plans. Automatic

offers services across the United States.

      3.      ADP, Inc. is a subsidiary of Automatic that also provides human

resources management software and services such as payroll services, time and




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attendance tools, tax services, compliance services, benefits administration, and

retirement plans and services. ADP offers its services across the United States.

        4.   Along with these services, ADP cross-sells retirement plans including

SIMPLE IRAs, the funds for which are invested in ACI’s One Choice FOFs,

comprised of exclusively ACI owned and managed mutual funds, as selected and

sold by American Century Investment Management, Inc. the designated

“investment advisor” for the funds, at the time of sale of the SIMPLE IRAs.

Therefore, these SIMPLE IRAs are securities governed by the Exchange Act.

        5.   During the Class Period, ADP sold SIMPLE IRAs, the funds for which

are invested in American Century Investments’ One Choice FOFs, comprised of

exclusively ACI owned and managed mutual funds, as selected and sold at the

time of sale of the SIMPLE IRAs, to the class, through ADP employees who are

unlicensed and unregistered.

        6.   Automatic and ACI knew of and encouraged the use of unlicensed

and unregistered personnel to sell the SIMPLE IRA plans, the funds for which are

invested in ACI’s One Choice FOFs, comprised of exclusively ACI owned and

managed mutual funds, as selected and sold at the time of sale of the SIMPLE

IRAs.

        7.   American Century Investments participated in training the

unlicensed and unregistered ADP employees to sell SIMPLE IRA plans.



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        8.    ADP failed to properly train and supervise its unlicensed and

unregistered personnel in selling securities.

        9.    ADP and ACI failed to disclose to consumers that their unlicensed

and unregistered personnel are required to sell a certain number of SIMPLE IRAs

or were otherwise provided incentives to sell SIMPLE IRAs, the funds for which

are invested in ACI’s One Choice FOFs, comprised of exclusively ACI owned and

managed mutual funds, as selected and sold at the time of sale of the SIMPLE

IRAs.

        10.   Automatic knew ADP was not disclosing to consumers that their

unlicensed and unregistered personnel are required to sell a certain number of

SIMPLE IRAs or were otherwise provided incentives to sell SIMPLE IRAs, the

funds for which are invested in ACI’s One Choice FOFs, comprised of exclusively

ACI owned and managed mutual funds, as selected and sold at the time of sale of

the SIMPLE IRAs. Automatic ratified and encouraged such behavior.

        11.   As a result of Defendants’ wrongful acts and omissions, Plaintiff and

the Class Members were induced into purchasing SIMPLE IRAs.

        12.   As a result of Defendants’ wrongful acts and omissions, Plaintiff and

the Class Members have incurred monetary damages and attorney fees and costs.

                        II.   JURISDICTION AND VENUE




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      13.    The claims asserted herein arise under Sections 12(a) and 15(a) of the

Securities Act, 15(c) and 20(a) of the Exchange Act, and 29 U.S.C. § 1106. This Court

has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1331

and Section 27 of the Exchange Act (15 U.S.C. § 78aa). This Court may exercise

supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C § 1367

because the claims form the same case or controversy under Article III of the

United States Constitution.

      14.    This Court has diversity jurisdiction over this action under the Class

Action Fairness Act, 28 U.S.C. § 1332(d) because this is a class action involving

more than 100 class members, the amount in controversy exceeds $5 million,

exclusive of interest and costs, and Plaintiff and Class Members are citizens of

states that differ from Defendants.

      15.    This Court has personal jurisdiction over Defendants because

Defendants have sufficient minimum contacts with the State of New Jersey.

Automatic and ADP are headquartered in New Jersey. ACI does business with

Automatic and ADP in New Jersey, including working with Automatic and ADP

to sell SIMPLE IRAs through unlicensed and unregistered sales representatives.

      16.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to these claims

occurred in this Judicial District.



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      17.    In connection with the acts, transactions, and conduct alleged herein,

Defendants directly and indirectly used means and instrumentalities of interstate

commerce, including the United States mail, interstate telephone communications,

and facilities of the national securities exchange.

                                    III.     PARTIES

      18.    Plaintiff Dale Ylitalo is a citizen of Naples, Florida. Ylitalo owns and

operates R4 Construction, LLC (“R4 Construction”).

      19.    Defendant ADP, Inc. is headquartered in Roseland, New Jersey. All

claims against ADP are brought against ADP, its subsidiaries and assigns.

      20.    Defendant Automatic Data Processing, Inc. is headquartered in

Roseland, New Jersey. All claims against Automatic are brought against

Automatic, its subsidiaries and assigns.

      21.    Defendant       American      Century    Investment    Services,   Inc.   is

incorporated in Missouri with its principal place of business located in Kansas

City, Missouri. All claims against ACI are brough against ACI, its subsidiaries and

assigns.

                       IV.     SUBSTANTIVE ALLEGATIONS

      22.    ADP Employer Services is a division of ADP, Inc. ADP Retirement

Services is a part of the Employer Services division. ADP Retirement Services




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provides recordkeeping and administrative services to tax-qualified contribution

retirement plans.

      23.   ADP, Inc. is a subsidiary of Automatic.

      24.   ADP sells IRA plans, including SIMPLE IRAs and SEP IRAs.

      25.   ADP markets and/or provides money management services in

connection with two IRA institutions for more than 15,000 SIMPLE IRA plans.

      26.   ADP’s SIMPLE IRAs funds are invested in American Century

Investments’ One Choice FOFs, comprised of exclusively ACI owned and

managed mutual funds, as selected and sold at the time of sale of the SIMPLE

IRAs, making them securities governed by the Exchange Act.

      27.   American Century Asset Allocation Portfolios, Inc. (the corporation)

is registered under the Investment Company Act of 1940, as amended (the 1940

Act), as an open-end management investment company and is organized as a

Maryland corporation. 1

      28.   One Choice In Retirement Portfolio, One Choice 2025 Portfolio, One

Choice 2030 Portfolio, One Choice 2035 Portfolio, One Choice 2040 Portfolio, One

Choice 2045 Portfolio, One Choice 2050 Portfolio, One Choice 2055 Portfolio, One




1
 https://americancentury.prospectus-
express.com/getcombinedpdf/amercentll/ann?key=XZTGE2fOowkexG4R5Fpquxk45eNThzaKl
uUk8vvAKCI1&fid=02507F613


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Choice 2060 Portfolio and One Choice 2065 Portfolio (collectively, the Funds) are

ten funds in a series issued by the corporation. 2

        29.   The Funds operate as “funds of funds,” meaning substantially all of

the funds’ assets are immediately invested in other American Century Investments

mutual funds (the underlying funds). 3

        30.   Each Fund’s assets are allocated among underlying funds that

represent major asset classes, including equity securities, fixed-income securities

and short-term investments.” 4

        31.   Each FOF is a “One Choice Target Date Portfolio,” a fund of funds

that invests in other American Century Investments mutual funds to “achieve its

investment objective and target asset allocation.” 5

        32.   The underlying funds in each One Choice FOF are comprised wholly

of investments in mutual funds within the American Century Investments family

of funds, and are considered affiliated funds. 6

        33.   ADP employs sales representatives in ADP Small Business Services

(“SBS”). Little to none of the SBS sales representatives are licensed as broker-




2
  Id.
3
  Id.
4
  Id.
5
  Id.
6
  Id.


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dealers or as sales representatives under Financial Industry Regulatory Authority

(“FINRA”) or their respective states.

      34.   The unlicensed and unregistered SBS sales representatives sell ADP

products to small business owners, including SIMPLE IRAs, the funds for which

are invested in American Century Investments’ One Choice FOFs, comprised of

exclusively ACI owned and managed mutual funds, as selected and sold at the

time of sale of the SIMPLE IRAs.

      35.   The unlicensed and unregistered SBS sales representatives initiate

contact with the small business owners through various leads via email, mail, or

talk directly to small business owners who are interest in ADP’s payroll services,

talk to them about the benefits of SIMPLE IRAs, discuss the terms of a SIMPLE

IRA, estimate returns on a SIMPLE IRA, and that American Century Investments

is ADP’s exclusive partner and provider of the investments and securities for the

SIMPLE IRAs, ultimately selling small business owners on investing in the

SIMPLE IRAs, for which American Century Investments is ADP’s exclusive

partner/provider of investments/securities. The money used to fund the SIMPLE

IRAs are invested in American Century Investments’ One Choice FOFs, comprised

of exclusively ACI owned and managed mutual funds, as selected and sold at the

time of sale of the SIMPLE IRAs.




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        36.      The unlicensed and unregistered SBS sales representatives call

 customers or potential customers to discuss and sell them SIMPLE IRAs, the funds

 for which are invested in American Century Investments’ One Choice FOFs,

 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs.

        37.      The SBS sales representatives discuss with these customers, including

 Plaintiff and the Class Members, the projected rates of return, investment

 potential, the investment benefits of the SIMPLE IRAs, and that American Century

 Investments is ADP’s exclusive partner and provider of the investments and

 securities for the SIMPLE IRAs. The SBS sales representatives use language of

 solicitation,    qualification,   and   detailed   descriptions   of   the   investment

 opportunities.

        38.      Although a purchaser may select other mutual funds or securities for

 their SIMPLE IRA, ADP and ACI intends to sell these SIMPLE IRAs as contract to

 invest in ACI’s One Choice FOF.

        39.      If a purchaser of the SIMPLE IRA does not elect a specific mutual fund

 or security, the funds for the SIMPLE IRA are immediately invested in one of ACI’s

 One Choice FOFs.

        40.      When selling the SIMPLE IRAs, ADP’s unlicensed and unregistered

 SBS sales representatives inform purchasers – including Plaintiff and the Class



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 Members – that they do not have to make elections for their SIMPLE IRA

 investments, and that such an election is already made for them.

       41.    In selling the SIMPLE IRAs, the unlicensed and unregistered SBS sales

 representatives use the information regarding ACI’s One Choice FOFs to inform

 Plaintiff and the Class Members of the projected return rates and investment

 potential for the SIMPLE IRAs.

       42.    ACI intends that ADP’s unlicensed and unregistered SBS sales

 representatives sell the SIMPLE IRAs to use one of ACI’s One Choice FOFs as the

 underlying security. ACI aids in training ADP’s unlicensed and unregistered SBS

 sales representatives to sell the SIMPLE IRAs as a contract to invest in one of ACI’s

 One Choice FOFs.

       43.    ADP has policies and procedures in place which encouraged and/or

 required the unlicensed and unregistered SBS sales representatives to sell SIMPLE

 IRAs, the funds for which are invested in American Century Investments’ One

 Choice FOFs, comprised of exclusively ACI owned and managed mutual funds,

 as selected and sold at the time of sale of the SIMPLE IRAs.

       44.    ACI and Automatic know about these policies and procedures and

 encourages and benefits from the unlicensed and unregistered SBS sales

 representatives’ sale of SIMPLE IRAs, funds for which are invested in American

 Century Investments’ One Choice FOFs, comprised of exclusively ACI owned and



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 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs.

         45.   ADP encourages their unlicensed and unregistered SBS sales

 representatives to sell SIMPLE IRAs through training, incentives, reviews, and

 requirements.

         46.   Automatic encourages and ratifies these trainings, incentives,

 reviews, and requirements.

         47.   ADP trains and encourages their unlicensed and unregistered SBS

 sales representatives to go beyond piquing the interest of potential clients. ADP

 required the SBS sales representatives to make the sales pitch in a manner that by

 the time the unlicensed and unregistered sales representative would send the

 client to a FINRA licensed Automatic’s ADP Broker-Dealer subsidiary/affiliate

 employee, the unlicensed and unregistered SBS sales representative had already

 sold the customer on the SIMPLE IRA, the funds for which are invested in

 American Century Investments’ One Choice FOFs, comprised of exclusively ACI

 owned and managed mutual funds, as selected and sold at the time of sale of the

 SIMPLE IRAs. The Automatic’s ADP Broker-Dealer subsidiary/affiliate

 employee, registered and/or licensed under FINRA and State licensing laws,

 merely rubber stamps the agreement.




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       48.   It was understood by ADP and all ADP employees that the unlicensed

 and unregistered SBS sales representatives were the ones selling the SIMPLE IRAs.

 The unlicensed and unregistered SBS sales representatives had monthly sales

 quotas for SIMPLE IRAs they were expected and required to meet each month.

       49.   The unlicensed and unregistered SBS sales representatives did not

 meet their sales quotas simply by sending clients over to talk to a licensed ADP

 employee or broker. The unlicensed and unregistered SBS sales representatives

 were required to have “closed” the customer on the deal and send a sold

 customer’s SIMPLE IRA to a licensed ADP employee or broker for rubber stamp

 approval to meet their quotas.

       50.   The requirement to “sell” a certain number of SIMPLE IRAs each

 month was not given to the FINRA licensed ADP employees.

       51.   ADP offers incentives for the unlicensed and unregistered SBS sales

 representatives to sell SIMPLE IRAs by rewarding SBS sales representatives with

 days off, cash bonuses sent over Venmo, gift cards, and other tangible prizes as

 well as compensation for the sale.

       52.   The unlicensed and unregistered SBS sales representatives did not

 receive compensation or credit for a completed sale of the SIMPLE IRAs, the funds

 for which are invested in American Century Investments’ One Choice FOFs,




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 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, unless the sale closed.

         53.   ADP pressures and bribes unlicensed sales associates to sell SIMPLE

 IRAs to their clientele. ADP trained its unlicensed sales employees to favor

 SIMPLE IRAs over other IRA plans.

         54.   ADP hosted company wide, cross-office, and regional competitions

 amongst the unlicensed and unregistered SBS sales representatives to sell SIMPLE

 IRAs.

         55.   Automatic and ACI knew of and encouraged these competitions

 amongst the unlicensed and unregistered SBS sales representatives.

         56.   Automatic aided ADP in these policies and procedures by allowing

 and ratifying the policies and procedures which enabled unlicensed and

 unregistered SBS sales representatives to sell SIMPLE IRAs.

         57.   ADP’s/Automatic’s compliance department is required to authorize

 and does authorize these promotions, requirements, and incentives and is aware

 that sales solicitations and sales of SIMPLE IRAs, the funds for which are invested

 in American Century Investments’ One Choice FOFs, comprised of exclusively

 ACI owned and managed mutual funds, as selected and sold at the time of sale of

 the SIMPLE IRAs, are being made by unlicensed and unregistered sales

 representatives.



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       58.   American Century Investments and Automatic know of these sales

 requirements, promotions, and incentives, and encouraged the sale of SIMPLE

 IRAs, the funds for which are invested in American Century Investments’ One

 Choice FOFs, comprised of exclusively ACI owned and managed mutual funds,

 as selected and sold at the time of sale of the SIMPLE IRAs, by unlicensed and

 unregistered SBS sales representatives.

       59.   ADP and American Century Investments train the unlicensed and

 unregistered SBS sales representatives on how to sell SIMPLE IRAs, the funds for

 which are invested in American Century Investments’ One Choice FOFs,

 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, using talk tracks, videos, and

 presentations.

       60.   ADP and American Century Investments did not provide the same

 training to SBS sales representatives to sell SEP IRAs. Even if the SEP IRAs were a

 better option for the client, the SBS sales representatives encouraged clients to

 purchase the SIMPLE IRAs over the SEP IRAs.

       61.   To encourage and aid the unlicensed and unregistered SBS sales

 representatives in selling SIMPLE IRAs, the funds for which are invested in

 American Century Investments’ One Choice FOFs, comprised of exclusively ACI

 owned and managed mutual funds, as selected and sold at the time of sale of the



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 SIMPLE IRAs, ADP/Automatic created an online calculator called SIMPLE

 Calculator. The SIMPLE Calculator allows ADP’s SBS sales representatives to

 input data, such as the amount of money the small business owner wanted to

 spend each month, employee contributions, company matches, annual salaries,

 and an employee’s tax bracket, in order to calculate the cost, savings, and projected

 return on investment offered with a SIMPLE IRA, invested in securities provided

 by American Century Investments.

       62.    ADP made the SIMPLE Calculator available for the unlicensed and

 unregistered SBS sales representatives to use in soliciting and selling SIMPLE

 IRAs, the funds for which are invested in American Century Investments’ One

 Choice FOFs, comprised of exclusively ACI owned and managed mutual funds,

 as selected and sold at the time of sale of the SIMPLE IRAs.

       63.    With the SIMPLE Calculator, unlicensed and unregistered SBS sales

 representatives ask ADP customers how much they are comfortable setting aside

 for retirement, discuss the price of a SIMPLE IRA, explain tax savings with

 SIMPLE IRA, estimate investment returns on the SIMPLE IRA, and show potential

 outcomes of the SIMPLE IRA investments.

       64.    As a result, the SBS sales representatives are using the SIMPLE

 Calculator to give customers, such as Plaintiff and the Class Members, estimated

 returns based on unreliable and unlikely return rates.



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       65.   The unlicensed and unregistered SBS sales representatives, with the

 help of the SIMPLE Calculator, sell Plaintiff and the Class Members on the SIMPLE

 IRAs by estimating their returns at 6.00%, or higher. As Defendants know, this

 estimate far exceeds the actual returns Plaintiff and the Class Members see on their

 SIMPLE IRAs.

       66.   Defendants intend for Plaintiff and the Class Members to rely on the

 unlicensed and unregistered sales representatives’ statements, with the use of the

 SIMPLE Calculator, and estimate their returns at 6.00%, or higher.

       67.   American Century Investments and Automatic know of and

 encourages ADP’s use of these strategies to sell SIMPLE IRAs, the funds for which

 are invested in American Century Investments’ One Choice FOFs, comprised of

 exclusively ACI owned and managed mutual funds, as selected and sold at the

 time of sale of the SIMPLE IRAs.

       68.   On or around July 26, 2023, Plaintiff Dale Ylitalo, as a representative

 of R4 Construction, spoke with SBS Sales Representative Paul Long regarding

 ADP’s payroll services. Long, an unlicensed and unregistered sales representative,

 talked to Ylitalo about buying a SIMPLE IRA plan.

       69.   With Defendants’ knowledge, aid, and encouragement, Long used

 the SIMPLE Calculator during his conversation with Ylitalo and represented to

 Ylitalo that his estimated return on the SIMPLE IRA would be 6.00%.



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       70.    With Defendants’ knowledge, aid, and encouragement, Long

 intentionally and knowingly failed to inform Plaintiff Ylitalo that he was not

 registered or licensed to sell securities.

       71.    With Defendants’ knowledge, aid, and encouragement, Long

 intentionally and knowingly failed to inform Plaintiff Ylitalo that he could or

 would receive additional compensation, bonuses, or other benefits from selling the

 SIMPLE IRA plans.

       72.    With Defendants’ knowledge, aid, and encouragement, Long

 intentionally and knowingly failed to inform Plaintiff Ylitalo that he was required

 to sell a certain number of SIMPLE IRA plans each month.

       73.    With Defendants’ knowledge, aid, and encouragement, Long

 intentionally and knowingly failed to inform Plaintiff Ylitalo that ADP offered

 other retirement plans, and that Long was encouraged to sell SIMPLE IRAs above

 other retirement plans.

       74.    With Defendants’ knowledge, aid, and encouragement, Long used

 information regarding ACI’s One Choice FOFs to provide Plaintiff with

 information on his expected returns and investment benefits for the SIMPLE IRA.

       75.    With Defendants’ knowledge, aid, and encouragement, Long

 encouraged Plaintiff to invest his SIMPLE IRA in one of ACI’s One Choice FOFs.




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       76.    Plaintiff relied on Long’s misrepresentation, omissions, and

 concealments, and purchased in a SIMPLE IRA plan, the funds for which were

 immediately invested in ACI’s One Choice FOFs, comprised of exclusively ACI

 owned and managed mutual funds, as selected and sold at the time of sale of the

 SIMPLE IRA. See Exhibit 1.

       77.    To date, Plaintiff has invested over $2,000.00 in his SIMPLE IRA plan.

       78.    Despite these representations, Ylitalo’s SIMPLE IRA has performed

 well under 6.00% each year. Rather, Ylitalo’s SIMPLE IRA has earned closer to 4%.

       79.    With each Class Members, unlicensed and unregistered SBS sales

 representatives made the same or substantially similar misrepresentations,

 omissions and/or concealments.

       80.    With Defendants’ knowledge, aid, and encouragement, the

 unlicensed and unregistered SBS sales representatives used the SIMPLE

 Calculator during their conversation with Class Members and represented to the

 Class Members that their individual estimated return on the SIMPLE IRA would

 be 6.00%, or higher.

       81.    With Defendants’ knowledge, aid, and encouragement, the

 unlicensed and unregistered SBS sales representatives intentionally and

 knowingly failed to inform the Class Members that they were not registered or

 licensed to sell securities.



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          82.   With Defendants’ knowledge, aid, and encouragement, the

 unlicensed and unregistered SBS sales representatives intentionally and

 knowingly failed to inform the Class Members that were eligible receive additional

 compensation, bonuses, or other benefits from selling the SIMPLE IRA plans.

          83.   With Defendants’ knowledge, aid, and encouragement, the

 unlicensed and unregistered SBS sales representatives intentionally and

 knowingly failed to inform the Class Members that they were required to sell a

 certain number of SIMPLE IRA plans each month.

          84.   With Defendants’ knowledge, aid, and encouragement, the

 unlicensed and unregistered SBS sales representatives intentionally and

 knowingly failed to inform the Class Members that ADP offered other retirement

 plans, and that Long was encouraged to sell SIMPLE IRAs above other retirement

 plans.

          85.   Defendants knew of, encouraged, and trained Long to sell SIMPLE

 IRA plans in such a manner. Defendants knew of and encouraged SBS sales

 representatives, such as Long, to make such misrepresentations, omissions, and

 concealments.

          86.   Due to Defendants’ conduct, Plaintiff and the Class Members were

 misled as to their potential returns on their SIMPLE IRAs, the value the SIMPLE




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 IRAs could bring to them, and whether or not the SIMPLE IRA plans were the best

 fit for them.

         87.     Due to Defendants’ conduct, Plaintiff and the Class Members were

 not able to make an adequate, meaningful, and fully knowledgeable decision as to

 their investments in the SIMPLE IRA plans.

         88.     Had Plaintiff and the Class Members known of the material

 misrepresentations, omissions, and/or concealments, Plaintiff and the Class

 Members would not have purchased the SIMPLE IRA plan.

         89.     Had Plaintiff and the Class Members known that SBS sales

 representatives were not licensed or registered in accordance with FINRA or State

 law, Plaintiff and the Class Members would not have purchased the SIMPLE IRA

 plan.

         90.     Defendants intended that the clients, such as Plaintiff and the Class

 Members, rely on the statements or omissions made by the unlicensed and

 unregistered SBS sales representatives, including the return rates.

         91.     Defendants failed to properly or adequately train or educate the SBS

 sales representatives on their legal limitations as unlicensed and unregistered

 salespersons. Rather, Defendants knowingly encouraged the SBS sales

 representatives to sell the SIMPLE IRAs, the funds for which are invested in

 American Century Investments’ One Choice FOFs, comprised of exclusively ACI



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 owned and managed mutual funds, as selected and sold at the time of sale of the

 SIMPLE IRAs, without a brokerage or FINRA license.

       92.    Defendants did not inform Plaintiff or the Class Members that the

 unlicensed and unregistered SBS sales representatives were being given incentives

 to or were required to push the SIMPLE IRAs over other plans.

       93.    Plaintiff and other Class Members relied on the statements made by

 the unlicensed and unregistered SBS sales representatives in purchasing SIMPLE

 IRAs, the funds for which are invested in American Century Investments’ One

 Choice FOFs, comprised of exclusively ACI owned and managed mutual funds,

 as selected and sold at the time of sale of the SIMPLE IRAs.

       94.    Plaintiff and the Class Members purchased SIMPLE IRAs without

 being fully informed of their investments and the incentives offered to the SBS

 sales representatives.

       95.    Defendants received a substantial benefit from the sale of the SIMPLE

 IRAs including a monetary benefit from transaction fees and investment fees.

       96.    ACI receives additional monetary benefits from these SIMPLE IRAs

 because ACI receives fees each time its own FOFs purchase or sell ACI’s mutual

 funds.

       97.    As a result, Plaintiff and the Class Members have suffered damages,

 including, but not limited to, monetary damages, attorney fees, and cost.



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                       V.     CLASS ACTION ALLEGATIONS

       98.    Plaintiff brings this nationwide class action on behalf of themselves

 and on behalf of all others similarly situated pursuant to Rule 23(b)(2), 23(b)(3),

 and 23(c)(4) of the Federal Rules of Civil Procedure.

       99.    The Class that Plaintiff seeks to represent is defined as follows:

              All individuals who, as the owner and operator of
              their own business who purchased SIMPLE IRA(s)
              from ADP for themselves as individuals at any time
              from the date of filing to three years prior thereto, the
              funds for which were directed into one of ACI’s One
              Choice FOFs, at the time of sale of the SIMPLE IRA.

       100.   Excluded from the Class are the following individuals and/or

 entities: Defendants and Defendants’ parents, subsidiaries, affiliates, officers and

 directors, and any entity in which Defendants have a controlling interest; all

 individuals who make a timely election to be excluded from this proceeding using

 the correct protocol for opting out; any and all federal, state or local governments,

 including but not limited to their departments, agencies, divisions, bureaus,

 boards, sections, groups, counsels and/or subdivisions; and all judges assigned to

 hear any aspect of this litigation, as well as their immediate family members.

       101.   Plaintiff reserves the right to modify or amend the definition of the

 proposed classes before the Court determines whether certification is appropriate.

       102.   Numerosity (Fed. R. Civ. P. 23(a)(1)): The Class is so numerous that

 joinder of all members is impracticable. ADP sold SIMPLE IRAs the funds for


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 which are invested in American Century Investments’ One Choice FOFs,

 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, to thousands of individuals through

 their unlicensed and unregistered SBS sales representatives.

       103.   Commonality (Fed. R. Civ. P. 23(a)(2) & (b)(3)): Questions of law and

 fact common to the Classes exist and predominate over any questions affecting

 only individual Class Members. These include:

              a.    Whether Defendants used unlicensed and unregistered sales

              representatives to sell securities;

              b.    Whether Defendants failed to adequately train the unlicensed

              and unregistered SBS sales representatives;

              c.    Whether and to what extend Defendants had a duty to disclose

              the unlicensed and unregistered sales representatives’ monthly sales

              quotas to Plaintiff and the Class Members; and

              d.    Whether and to what extend Defendants had a duty to disclose

              the unlicensed and unregistered sales representatives’ compensation,

              bonuses, and other benefits to Plaintiff and the Class Members.

       104.   Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiff’s claims are typical of

 those of other Class Members because all invested in the SIMPLE IRAs, the funds

 for which are invested in American Century Investments’ One Choice FOFs,



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 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, after being solicited by ADP’s

 unlicensed and unregistered sales representatives and without material

 information about the SIMPLE IRAs, including that the sales representatives were

 unlicensed and unregistered.

       105.   Policies Generally Applicable to the Class: This class action is also

 appropriate for certification because Defendants have acted or refused to act on

 grounds generally applicable to the Class, thereby requiring the Court’s

 imposition of uniform relief to ensure compatible standards of conduct toward

 Class Members and making final injunctive relief appropriate with respect to the

 Class as a whole. Defendants’ policies challenged herein apply to and affect Class

 Members uniformly and Plaintiff’s challenge of these policies hinges on

 Defendants’ conduct with respect to the Class as a whole, not on facts or law

 applicable only to Plaintiff.

       106.   Adequacy (Fed. R. Civ. P. 23(a)(4)): Plaintiff will fairly and

 adequately represent and protect the interests of Class Members in that he has no

 disabling conflicts of interest that would be antagonistic to those of the other

 Members of the Class. Plaintiff seeks no relief that is antagonistic or adverse to the

 Members of the Class and the infringement of the rights and the damages they

 have suffered are typical of other Class Members. Plaintiff has retained counsel



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 experienced in complex class action litigation, and Plaintiff intends to prosecute

 this action vigorously.

       107.   Superiority and Manageability (Fed. R. Civ. P. 23(b)(3)): The class

 litigation is an appropriate method for fair and efficient adjudication of the claims

 involved. Class action treatment is superior to all other available methods for the

 fair and efficient adjudication of the controversy alleged herein; it will permit a

 large number of Class Members to prosecute their common claims in a single

 forum simultaneously, efficiently, and without the unnecessary duplication of

 evidence, effort, and expense that hundreds of individual actions would require.

 Class action treatment will permit the adjudication of relatively modest claims by

 certain Class Members, who could not individually afford to litigate a complex

 claim against large corporations, like Defendants. Further, even for those Class

 Members who could afford to litigate such a claim, it would still be economically

 impractical and impose a burden on the courts.

       108.   The nature of this action and the nature of laws available to Plaintiff

 and Class Members make the use of the class action device a particularly efficient

 and appropriate procedure to afford relief to Plaintiff and Class Members for the

 wrongs alleged because Defendants would necessarily gain an unconscionable

 advantage since it would be able to exploit and overwhelm the limited resources

 of each individual Class Member with superior financial and legal resources; the



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 costs of individual suits could unreasonably consume the amounts that would be

 recovered; proof of a common course of conduct to which Plaintiff was exposed is

 representative of that experienced by the Class and will establish the right of each

 Class Member to recover on the cause of action alleged; and individual actions

 would create a risk of inconsistent results and would be unnecessary and

 duplicative of this litigation.

       109.   The litigation of the claims brought herein is manageable.

 Defendants’ uniform conduct, the consistent provisions of the relevant laws, and

 the ascertainable identities of Class Members demonstrates that there would be no

 significant manageability problems with prosecuting this lawsuit as a class action.

       110.   Adequate notice can be given to Class Members directly using

 information maintained in Defendants’ records.

       111.   Unless a Class-wide injunction is issued, Defendants may continue to

 sell SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs, through unlicensed and unregistered SBS sales representatives, and may

 continue to make material misrepresentations, omissions, or concealments

 regarding the SBS sales representatives’ compensation.




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       112.   Further, Defendants have acted or refused to act on grounds generally

 applicable to the Classes and, accordingly, final injunctive or corresponding

 declaratory relief with regard to Class Members as a whole is appropriate under

 Rule 23(b)(2) of the Federal Rules of Civil Procedure.

       113.   Likewise, particular issues under Rule 23(c)(4) are appropriate for

 certification because such claims present only particular, common issues, the

 resolution of which would advance the disposition of this matter and the parties’

 interests therein. Such particular issues include, but are not limited to:

              a.      Whether Defendants owed a duty to Plaintiff and Class

              Members to adequately and sufficiently inform them on SIMPLE IRA,

              the funds for which are invested in American Century Investments’

              One Choice FOFs, comprised of exclusively ACI owned and managed

              mutual funds, as selected and sold at the time of sale of the SIMPLE

              IRAs;

              b.      Whether Defendants owed a duty to Plaintiff and Class

              Members to adequately and sufficiently inform them on the SBS sales

              representatives’ sales quotas and compensation rates;

              c.      Whether Defendants violated their duties to Plaintiff and Class

              Members;

              d.      Whether Defendants violated the Securities Act and/or



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              Exchange Act; and

              e.    Whether Defendants violated state law.

                             VI.    CLAIMS FOR RELIEF

                                      COUNT I
     Violation of Section 12(a)(2),15 U.S.C. § 77(a)(2) and Section 15, 15 U.S.C.
                            § 77o(a) of the Securities Act
             (Plaintiff on Behalf of the Class Against all Defendants)

       114.   Plaintiff repeats and realleges the preceding paragraphs as if set forth

 herein.

       115.   During the Class Period, Defendants negligently or recklessly carried

 out a plan, scheme and course of conduct which, throughout the Class Period,

 (i) deceived investors in the SIMPLE IRA, including Plaintiff and the Class

 Members, as alleged herein; (ii) caused Plaintiff and the Class Members to

 purchase SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds as selected and sold at the time of sale of the SIMPLE IRAs,

 and (iii) caused Plaintiff and the Class Members substantial losses.

       116.   Defendants    (i) employed    devises,    schemes,    and   artifices   to

 negligently or recklessly make material misrepresentations to investors;

 (ii) negligently or recklessly omitted statements of material fact or made negligent

 or reckless concealments, and (iii) negligently or recklessly engaged in acts,

 practices, and course of business which failed to properly, adequately, and


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 completely    disclose   pertinent   information     or   otherwise   misrepresented

 information to purchasers of securities, including Plaintiff and the Class Members,

 in violation of Section 12(a)(2) of the Securities Act.

       117.   Defendants ADP and ACI are sued both as primary participants in

 the wrongful and illegal conduct charged herein. ADP and ACI are sued as a

 primary participant in that, the SBS sales representatives and other employees

 acted as agents of ADP and ACI.

       118.    Automatic is sued a as controlling person in that, Automatic and its

 employees and agents possessed both direct and indirect power to direct or cause

 the direction of the management and policies of the personnel engaged in selling

 SIMPLE IRAs, the funds for which are invested in American Century Investments’

 One Choice FOFs, comprised of exclusively ACI owned and managed mutual

 funds, as selected and sold at the time of sale of the SIMPLE IRAs.

       119.   ADP encouraged and bribed unlicensed and unregistered sales

 representatives to sell SIMPLE IRAs, the funds for which are invested in American

 Century Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs. ADP required its sales representatives to sell a minimum number of SIMPLE

 IRAs within a certain time period.




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         120.   American Century Investments knew of and encouraged these sale

 tactics, including requiring unlicensed and unregistered SBS sales representatives

 to sell the SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs.

         121.   Defendants failed to inform Plaintiff and the Class Members of

 material information regarding the SIMPLE IRAs, the funds for which are invested

 in American Century Investments’ One Choice FOFs, comprised of exclusively

 ACI owned and managed mutual funds, as selected and sold at the time of sale of

 the SIMPLE IRAs. Defendants’ misrepresentations, material omissions and

 concealments include, but are not limited to:

            a. Omissions     and/or    concealments       regarding   the   SBS   sales

                representatives’ commissions, including bonuses, prizes, days off,

                and other benefits for the sale of certain SIMPLE IRAs;

            b. Omissions     and/or    concealments       regarding   the   SBS   sales

                representatives’ required sales quotas;

            c. Omissions and/or concealments that the SIMPLE IRAs, the funds for

                which are invested in American Century Investments’ One Choice

                FOFs, comprised of exclusively ACI owned and managed mutual



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              funds, as selected and sold at the time of sale of the SIMPLE IRAs,

              were being sold by unlicensed and unregistered sales personnel;

          d. Omissions and/or concealments that SBS sales representatives were

              required and/or encouraged to sell SIMPLE IRA plans over other IRA

              plans; and

          e. Misrepresentations regarding the potential return on SIMPLE IRAs.

          f. Omissions and/or concealments that the SIMPLE IRAs, the funds for

              which are invested in American Century Investments’ One Choice

              FOFs, comprised of exclusively ACI owned and managed mutual

              funds as selected and sold at the time of sale of the SIMPLE IRAs are

              securities, comprised of unregistered and/or unregistered securities.

       122.   Defendants, individually and in concert, directly and indirectly, by

 the use, means, or instrumentalities of interstate commerce and/or of the mails,

 electronic mailing, or telephone communications, engaged and participated in a

 continuous course of conduct to conceal adverse material information about the

 compensation of the persons selling the securities, as specified herein.

       123.   Defendants employed devices, schemes, and artifices to defraud by

 intentionally withholding information not available to the customers or the public

 and engaged in acts, practices, and a course of conduct as alleged herein in an

 effort to ensure that the customers do purchase or are not discouraged from



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 purchases SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs.

         124.   Defendants knew or reasonably should have known of the

 misrepresentations and/or omissions of material facts as set forth herein or acted

 with reckless disregard for the truth in that they failed to ascertain and to disclose

 such facts, even though such facts were readily available to them. Defendants’

 material misrepresentations and/or omissions were done knowingly or recklessly

 and for the purpose and effect of selling the SIMPLE IRAs, the funds for which are

 invested in American Century Investments’ One Choice FOFs, comprised of

 exclusively ACI owned and managed mutual funds, as selected and sold at the

 time of sale of the SIMPLE IRAs. If Defendants did not have actual knowledge of

 the misrepresentations and/or omissions alleged, the Defendants were negligent

 or reckless in failing to obtain such knowledge by negligently or deliberately

 refraining from taking those steps necessary to discover whether those statements

 were false or misleading.

         125.   As a result of the Defendants’ material misrepresentations and/or

 omissions, Plaintiff and other members of the Class were led to believe that the

 SIMPLE IRAs were a better investment than it was, and did invest in the SIMPLE



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 IRAs, the funds for which are invested in American Century Investments’ One

 Choice FOFs, comprised of exclusively ACI owned and managed mutual funds,

 as selected and sold at the time of sale of the SIMPLE IRAs.

       126.   At the time, Plaintiff and other members of the Class were not aware

 of the misrepresentations and/or omissions. Had Plaintiff and other members of

 the Class known of the misrepresentations and/or omissions, they would not have

 purchased the SIMPLE IRAs.

       127.   By virtue of the foregoing, Defendants violated Section 12(a)(2) and

 Section 15 of the Securities Act.

       128. As a direct and proximate cause of Defendants’ wrongful conduct,

 Plaintiff and other members of the Class suffered damages in connection with their

 respective purchases and sales of the SIMPLE IRAs, the funds for which are

 invested in American Century Investments’ One Choice FOFs, comprised of

 exclusively ACI owned and managed mutual funds, as selected and sold at the

 time of sale of the SIMPLE IRAs, during the Class Period.

                                     COUNT II
   Violation of Sections 10(b), 15 U.S.C. § 78j(b), and 20(a), 15 U.S.C. § 78t(a), of
                                 the Exchange Act
            (Plaintiff on Behalf of the Class Against All Defendants)

       129.   Plaintiff repeats and realleges the preceding paragraphs as if set forth

 herein.




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       130.    During the Class Period, Defendants, either directly or indirectly,

 used unlicensed and unregistered persons and/or persons otherwise not in

 compliance with to make use of mail or any means of instrumentality of interstate

 commerce to effect transactions in, induce, and/or attempt to induce the sale of

 securities.

       131.    ADP’s SBS sales representatives induced, attempted to induce,

 and/or substantially engaged in the purchase and sale of SIMPLE IRAs, the funds

 for which are invested in American Century Investments’ One Choice FOFs,

 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, to investors, including Plaintiff and

 the Class Members. ADP’s SBS sales representatives knowingly were not

 registered with the SEC and FINRA as broker-dealers pursuant to Section 15(b) of

 the Exchange Act (15 U.S.C. § 78o(b)).

       132.    ADP encouraged and bribed unlicensed and unregistered SBS sales

 representatives to sell SIMPLE IRAs, the funds for which are invested in American

 Century Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs. ADP required its unlicensed and unregistered SBS sales representatives to

 sell a minimum number of SIMPLE IRAs within a certain time period.




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         133.    American Century Investments knew of and encouraged these sale

 tactics, including requiring unlicensed and unregistered SBS sales representatives

 to sell the SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs.

         134.    As a direct and proximate result of the wrongful conduct of

 Defendants, Plaintiff and the Class Members purchased the SIMPLE IRAs, the

 funds for which are invested in American Century Investments’ One Choice FOFs,

 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, and suffered damages in connection

 with their purchases of the SIMPLE IRAs during the Class Period.

         135.    By reasons of the foregoing, ADP and ACI violated, and unless

 enjoined, will continue to violate Section 15(a)(1) of the Exchange Act (15 U.S.C.

 § 78o(a)(1)).

         136.    During the Class Period, Defendants had employees or agents who

 were registered with the SEC and FINRA as broker-dealers pursuant to Section

 15(b) of the Exchange Act (15 U.S.C. § 78o(b)). ADP’s SBS sales representatives,

 however, knowingly were not registered with the SEC and FINRA as broker-

 dealers pursuant to Section 15(b) of the Exchange Act (15 U.S.C. § 78o(b)).



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       137.   As set forth above, ADP and ACI directly or indirectly, by use of the

 means or instrumentality of interstate commerce, of the mails, or any facility of

 any national securities exchange, used or employed, in connection with the

 purchase or sale, or the inducement or attempted inducement of the purchase or

 sale, of securities otherwise than on a national exchange, acts, practices, or courses

 of business that constitutes a manipulative, deceptive, or other fraudulent device

 or contrivance.

       138.   ADP and ACI failed to inform Plaintiff and the Class Members of

 material information regarding the SIMPLE IRAs, the funds for which are invested

 in American Century Investments’ One Choice FOFs, comprised of exclusively

 ACI owned and managed mutual funds, as selected and sold at the time of sale of

 the SIMPLE IRAs. Defendants’ misrepresentations, material omissions and

 concealments include, but are not limited to:

          a. Omissions      and/or    concealments      regarding    the   SBS   sales

              representatives’ commissions, including bonuses, prizes, days off,

              and other benefits for the sale of certain SIMPLE IRAs, the funds for

              which are invested in American Century Investments’ mutual funds

              as selected and sold at the time of sale of the SIMPLE IRAs;

          b. Omissions      and/or    concealments      regarding    the   SBS   sales

              representatives’ required sales quotas;



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          c. Omissions and/or concealments that the SIMPLE IRAs, the funds for

              which were invested in American Century Investments’ mutual

              funds as selected and sold at the time of sale of the SIMPLE IRAs,

              were being sold by unlicensed and unregistered sales personnel;

          d. Omissions and/or concealments that SBS sales representatives were

              required and/or encouraged to sell SIMPLE IRA plans over other IRA

              plans; and

          e. Misrepresentations regarding the potential return on SIMPLE IRAs.

          f. Omissions and/or concealments that the SIMPLE IRAs, the funds for

              which are invested in American Century Investments’ One Choice

              FOFs, comprised of exclusively ACI owned and managed mutual

              funds as selected and sold at the time of sale of the SIMPLE IRAs are

              securities, comprised of unregistered and/or unregistered securities.

       139.   ADP and ACI knew or should have known that its SBS sales

 representatives used inaccurate estimated investment return rates via the SIMPLE

 Calculator provided by ADP to sell the SIMPLE IRAs, the funds for which are

 invested in American Century Investments’ One Choice FOFs, comprised of

 exclusively ACI owned and managed mutual funds, as selected and sold at the

 time of sale of the SIMPLE IRAs.




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       140.   ADP encouraged and bribed unlicensed and unregistered sales

 representatives to sell the SIMPLE IRAs, the funds for which are invested in

 American Century Investments’ One Choice FOFs, comprised of exclusively ACI

 owned and managed mutual funds, as selected and sold at the time of sale of the

 SIMPLE IRAs. ADP required its sales representatives to sell a minimum number

 of the SIMPLE IRAs within a certain time period.

       141.   American Century Investments encouraged these sales tactics and

 trained ADP’s unlicensed and unregistered SBS sales representatives to sell the

 SIMPLE IRAs, the funds for which are invested in American Century Investments’

 One Choice FOFs, comprised of exclusively ACI owned and managed mutual

 funds, as selected and sold at the time of sale of the SIMPLE IRAs.

       142.   ADP and ACI’s conduct amounts to manipulative, deceptive, or

 otherwise fraudulent sales tactics used to sell the SIMPLE IRAs, the funds for

 which are invested in American Century Investments’ One Choice FOFs,

 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs.

       143.   ADP omitted such facts and made such misrepresentations in

 conversations with investors across the United States to induce investors to

 purchase the SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and



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 managed mutual funds as selected and sold at the time of sale of the SIMPLE IRAs.

 As a direct and proximate result of the wrongful conduct of Defendants, Plaintiff

 and the Class Members purchased the SIMPLE IRAs, the funds for which are

 invested in American Century Investments’ One Choice FOFs, comprised of

 exclusively ACI owned and managed mutual funds, as selected and sold at the

 time of sale of the SIMPLE IRAs, and suffered damages in connection with their

 purchases of the SIMPLE IRAs during the Class Period.

       144.   By reasons of the foregoing, ADP violated, and unless enjoined, will

 continue to violate Section 15(c)(1)(A) of the Exchange Act (15 U.S.C.

 § 78o(c)(1)(A)).

       145.   Automatic and ACI acted as controlling persons of SBS sales

 representatives within the meaning of Section 20(a) of the Exchange Act as alleged

 herein. By virtue of their ownership and contractual rights, participation in,

 and/or awareness of the operations of the SBS sales representatives, and intimate

 knowledge of the material information concealed from the investing public,

 Defendants had the power to influence and control and did influence and control,

 directly or indirectly, the decision-making of the SBS sales representatives,

 including their participation in the fraudulent scheme alleged herein.

       146.   Automatic and ACI had direct and supervisory involvement in the

 day-to-day operations of the SBS sales representatives and, therefore, had the



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 power to control or influence the particular decisions giving rise to the securities

 violations as alleged herein, and exercise the same.

       147.   As set forth above, Automatic and ACI, by and through their

 employees and agents, each violated Section 20(a) by their acts and omissions as

 alleged in this Complaint. By virtue of their position as controlling persons,

 Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct

 and proximate result of Defendants’ wrongful conduct, Plaintiff and other

 members of the Class suffered damages in connection with their purchases of

 SIMPLE IRAs, the funds for which are invested in American Century Investments’

 One Choice FOFs, comprised of exclusively ACI owned and managed mutual

 funds, as selected and sold at the time of sale of the SIMPLE IRAs, during the Class

 Period.

                                      COUNT III
                           VIOLATION OF 29 U.S.C. § 1106
              (Plaintiff on Behalf of the Class Against All Defendants)

       148.   Plaintiff repeats and realleges the preceding paragraphs as if set forth

 herein.

       149.   Defendants had a fiduciary relationship with the investors of SIMPLE

 IRAs, – the funds for which are invested in American Century Investments’ One

 Choice FOFs, comprised of exclusively ACI owned and managed mutual funds,

 as selected and sold at the time of sale of the SIMPLE IRAs – including Plaintiff



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 and the Class Members, where Defendants owed fiduciary duties to Plaintiff and

 the Class Members.

       150.   Defendants exercised discretionary authority and/or control with

 respect to the management of Plaintiff’s and Class Members investments through

 their SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed.

       151.   Defendant ACI uses this discretion in selecting which underlying

 funds the One Choice FOFs would purchase or sell and what amount, pursuant to

 the agreements made in signing up for ADP’s SIMPLE IRA plan. Further,

 American Century Investment Management, Inc., the investment advisor for all

 One Choice FOFs, is the valuation designee pursuant to its valuation policies and

 procedures. As the One Choice FOFs investment advisor, they make

 determinations using their judgement as to the value of securities, the advisability

 of investing in or purchasing, or selling securities on a regular basis pursuant to

 the SIMPLE IRAs agreements and as such their advice serves as the primary basis

 for investment decisions with respect to plan assets based on the individual One

 Choice FOFs Plaintiff and Class Members have been shoe-horned into. These

 decisions made by American Century Investment Management, Inc., are

 communicated to Plaintiff and Class Members through various updates



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 throughout each year with little to no input regarding specific investments from

 Plaintiff and Class Members.

       152.   Defendants knew or should have known that the SBS sales

 representatives received incentives, such as bonuses, gift cards, days off, and other

 benefits, for the sale of the SIMPLE IRAs, the funds for which are invested in

 American Century Investments’ mutual funds as selected and sold at the time of

 sale of the SIMPLE IRAs. Defendants knew or should have known that the SBS

 sales representatives were required to sell a certain number of the SIMPLE IRA

 plans each month. As a result, the SBS sales representatives received consideration

 for their sale of the SIMPLE IRAs, the funds for which are invested in American

 Century Investments’ mutual funds as selected and sold at the time of sale of the

 SIMPLE IRAs.

       153.   In selling the SIMPLE IRAs, Defendants obtained a substantial benefit

 and maintained a substantial interest in the sale of the SIMPLE IRAs, the funds for

 which are invested in American Century Investments’ One Choice FOFs,

 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, in violation of 29 U.S.C. § 1106.

       154.   Defendants knowingly participated in and/or knowingly concealed

 information surrounding the sale of the SIMPLE IRAs, the funds for which are

 invested in American Century Investments’ One Choice FOFs, comprised of



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 exclusively ACI owned and managed mutual funds, as selected and sold at the

 time of sale of the SIMPLE IRAs, by persons who received a substantial benefit

 from the sale.

        155.    As a result, Defendants breached their fiduciary duties to Plaintiff and

 the Class Members. Plaintiff and the Class demand restoration of the profits

 Defendants gained, and the losses Plaintiff and the Class experienced as a result

 of the sale.

                                     COUNT IV
           GROSS NEGLIGENCE/NEGLIGENT MISREPRESENTATION
             (Plaintiff on Behalf of the Class Against All Defendants)

        156.    Plaintiff repeats and realleges the preceding paragraphs as if set forth

 herein.

        157.    As set forth above, the Defendants made material omissions or

 concealments to Plaintiff and Class Members in order to induce them to purchase

 the SIMPLE IRAs, the funds for which are invested in American Century

 Investments’ One Choice FOFs, comprised of exclusively ACI owned and

 managed mutual funds, as selected and sold at the time of sale of the SIMPLE

 IRAs, through ADP’s unlicensed and unregistered sales representatives.

        158.    Defendants failed to inform Plaintiff and the Class Members of

 material       information    regarding      the    SIMPLE       IRAs.    Defendants’




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 misrepresentations, material omissions and concealments include, but are not

 limited to:

               a.   Omissions and/or concealments regarding the SBS sales

           representatives’ commissions, including bonuses, prizes, days off, and

           other benefits for the sale of certain SIMPLE IRAs, the funds for which

           are invested in American Century Investments’ One Choice FOFs,

           comprised of exclusively ACI owned and managed mutual funds, as

           selected and sold at the time of sale of the SIMPLE IRAs;

               b.   Omissions and/or concealments regarding the SBS sales

           representatives’ required sales quotas;

               c.   Omissions and/or concealments that the SIMPLE IRAs, the

           funds for which are invested in American Century Investments’ mutual

           funds as selected and sold at the time of sale of the SIMPLE IRAs, were

           being sold by unlicensed and unregistered sales personnel;

               d.   Omissions and/or concealments that SBS sales representatives

           were required and/or encouraged to sell the SIMPLE IRA plans over

           other IRA plans; and

               e.   Misrepresentations regarding the potential return on the

           SIMPLE IRAs.




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       159.   Defendants intended that Plaintiff and the Class Members rely on

 these misstatements, omissions, or concealments.

       160.   Defendants knew or should have known at the time that these

 omissions or concealments were material to the Plaintiff’s and the Class Members’

 purchase, such that, had the material information been disclosed, Plaintiff and the

 Class Members would not have purchased or otherwise entered into a contract for

 the SIMPLE IRAs.

       161.   Defendants had a duty under law to disclose to Plaintiff and the Class

 Members the information that was omitted or concealed.

       162.   Defendants intended for Plaintiff and the Class Members to rely on

 the material misrepresentations, omissions, and concealments.

       163.   Plaintiff and the Class Members were ignorant of the material

 omissions or concealments. Plaintiff and the Class Members did not have a

 reasonable or equal opportunity to learn of or otherwise discover the information

 omitted or concealed.

       164.   Defendant knew or should have known that Plaintiff and the Class

 Members were ignorant to the material information omitted or concealed.

       165.   Defendants knew or should have known that these material

 omissions or concealments would induce reliance upon the omissions or

 concealments and cause Plaintiff or the Class Members to invest in the SIMPLE



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 IRAs, the funds for which are invested in American Century Investments’ One

 Choice FOFs, comprised of exclusively ACI owned and managed mutual funds,

 as selected and sold at the time of sale of the SIMPLE IRAs.

       166.    As a result, Plaintiff and the Class Members justifiably relied, and did

 in fact rely, on these material omissions or concealments and invested in the

 SIMPLE IRAs, the funds for which are invested in American Century Investments’

 One Choice FOFs, comprised of exclusively ACI owned and managed mutual

 funds, as selected and sold at the time of sale of the SIMPLE IRAs.

       167.   Defendant’s conduct was knowing and willful.

       168.   As such, Defendants’ conduct amounts to gross negligence.

       169.   As a proximate result of Defendants’ misrepresentations, Plaintiff and

 the Class Members have suffered substantial harm as described herein.

                                       COUNT V
                              UNJUST ENRICHMENT
              (Plaintiff on Behalf of the Class Against All Defendants)

       170.   Plaintiff repeats and realleges the preceding paragraphs as if set forth

 herein.

       171.   As set forth above, Defendants have engaged in improper, unlawful,

 and/or unjust acts, all to the harm and detriment of Plaintiff and Class Members.

       172.   When Plaintiff and Class Members invested in SIMPLE IRAs, the

 funds for which are invested in American Century Investments’ One Choice FOFs,



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 comprised of exclusively ACI owned and managed mutual funds, as selected and

 sold at the time of sale of the SIMPLE IRAs, through ADP’s unlicensed and

 unregistered sales representatives, they reasonably believed that the Defendants

 were acting in good faith in furtherance of legitimate transactions.

       173.   Instead, Defendants acted improperly, unjustly, and unlawfully,

 taking Plaintiff’s and Class Members’ money for their personal and family’s

 benefit.

       174.   Defendants have been enriched at Plaintiff’s and Class Members’

 expense through their investment into the SIMPLE IRAs, the funds for which are

 invested in American Century Investments’ One Choice FOFs, comprised of

 exclusively ACI owned and managed mutual funds, as selected and sold at the

 time of sale of the SIMPLE IRAs.

       175.   Defendants’ retention of Plaintiff’s and Class Members’ funds violates

 fundamental principles of justice, equity, and good conscience. Therefore,

 retention of that benefit without repayment would be unjust.

       176.   As a proximate result of Defendants’ unjust retention of Plaintiff’s

 and Class Members’ funds, Plaintiff and Class Members have suffered substantial

 harm as described herein.

                                   COUNT VI
      VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
             PRACTICES ACT (FDUTPA), Fla. Stat. 501.201, et seq.
           (Plaintiff on Behalf of the Class Against All Defendants)


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       177.    Plaintiff repeats and realleges the preceding paragraphs as if set forth

 herein.

       178.    Defendants failed to inform Plaintiff and the Class Members of

 material      information    regarding      the      SIMPLE     IRAs.    Defendants’

 misrepresentations, material omissions and concealments include, but are not

 limited to:

               a.    Omissions and/or concealments regarding the SBS sales

            representatives’ commissions, including bonuses, prizes, days off, and

            other benefits for the sale of certain SIMPLE IRAs, the funds for which

            are invested in American Century Investments’ mutual funds as selected

            and sold at the time of sale of the SIMPLE IRAs;

               b.    Omissions and/or concealments regarding the SBS sales

            representatives’ required sales quotas;

               c.    Omissions and/or concealments that the SIMPLE IRAs, the

            funds for which are invested in American Century Investments’ mutual

            funds as selected and sold at the time of sale of the SIMPLE IRAs, were

            being sold by unlicensed and unregistered sales personnel;

               d.    Omissions and/or concealments that SBS sales representatives

            were required and/or encouraged to sell the SIMPLE IRA plans over

            other IRA plans; and


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              e.    Misrepresentations regarding the potential return on the

           SIMPLE IRAs.

       179.   Defendants’ conduct amounts to a deceptive trade practice under the

 FDUTPA.

       180.   Defendants willfully used these methods, acts, or violations when

 they knew or should have known that their conduct was unfair, deceptive, and

 prohibited under the FDUTPA.

       181.   As a proximate result of Defendants’ unjust retention of Plaintiff’s

 and Class Members’ funds, Plaintiff and Class Members have suffered substantial

 harm as described herein.

                                    COUNT VII
                            Violation of N.J.S.A § 49:3-71
              (Plaintiff on Behalf of the Class Against all Defendants)

       182.   Plaintiff repeats and realleges the preceding paragraphs as if set forth

 herein.

       183.   ADP’s SBS sales representatives were required to be registered and

 licensed under N.J.S.A. § 49:3-56 in order to sell SIMPLE IRAs.

       184.   ADP offered to sell and/or sold SIMPLE IRAs by and through

 unregistered and unlicensed sales representatives in violation of N.J.S.A. § 49:3-

 56.




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       185.    ADP intentionally and knowingly failed to inform Plaintiff and the

 Class Members that the sales representatives were unregistered and unlicensed.

       186.    ADP intentionally and knowingly failed to inform Plaintiff and the

 Class Members of material information regarding the SIMPLE IRAs. ADP’s

 misrepresentations, material omissions and concealments include, but are not

 limited to:

               f.   Omissions and/or concealments regarding the SBS sales

           representatives’ commissions, including bonuses, prizes, days off, and

           other benefits for the sale of certain SIMPLE IRAs, the funds for which

           are invested in American Century Investments’ mutual funds as selected

           and sold at the time of sale of the SIMPLE IRAs;

               g.   Omissions and/or concealments regarding the SBS sales

           representatives’ required sales quotas;

               h.   Omissions and/or concealments that the SIMPLE IRAs, the

           funds for which are invested in American Century Investments’ mutual

           funds as selected and sold at the time of sale of the SIMPLE IRAs, were

           being sold by unlicensed and unregistered sales personnel;

               i.   Omissions and/or concealments that SBS sales representatives

           were required and/or encouraged to sell the SIMPLE IRA plans over

           other IRA plans; and



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              j.    Misrepresentations regarding the potential return on the

          SIMPLE IRAs.

       187.   Plaintiff did not know or have reason to know that ADP’s statements

 were untrue and misleading.

       188.   Plaintiff did not have the means to uncover ADP’s concealments or

 omissions.

       189.   ADP new that these statements were not true and/or were deceitful.

       190.   ADP intended to deceive Plaintiff and the Class Members in making

 these misrepresentations, material omissions and concealments.

       191.   ACI and Automatic directly or indirectly controlled ADP’s conduct

 or otherwise materially in the sale of the SIMPLE IRAs by unlicensed and

 unregistered SBS sales representatives.

       192.   As a direct and proximate result, Plaintiff and the Class Members

 have suffered harm in investing in SIMPLE IRAs, including limited and

 unfavorable returns.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands injunctive relief and damages, in their

 favor and against Defendant as follows:

       A. Determining that this action is a proper class action under Rule 23 of the

          Federal Rules of Civil Procedure;



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       B. Awarding compensatory damages in favor of Plaintiff and other Class

          members against all defendants, jointly and severally, for all damages

          sustained as a result of Defendants’ wrongdoing, in an amount to be

          proven at trial, including interest thereon;

       C. Awarding Plaintiff and the Class their reasonable costs and expenses

          incurred in this action, including counsel fees and expert fees; and

       D. Granting such other and further relief as this Court may deem just and

          proper.

                             JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

 Dated: July 9, 2024.                  Respectfully Submitted,

                                       /s/ Gary S. Graifman.

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                                    *Motion for Pro Hac Vice Forthcoming

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